Case 2:OO-cr-20220-SHI\/| Document 466 Filed 04/25/05 Page 1 of 2 Page|D 534

UNITED STATES DISTRICT COURT
Western District of Tennessee

Robert. R. Di 'I‘:c'olio Memph:l.s 901-495-1200
Clerk of Court Fax 901-
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DATE: 04/25/2005
NOTICE 'I'O ALL PARTIES
RE: CRIMINAL CASE NO. 00-20220

UNITED STATES OF AMERICA vs. Lavell Bates

RULE 20 (Consent to Transfer of Case for Plea and
Sentence)

XX RULE 40 TRANSFER

Docket Sheet case #:05cr354, A£fidavit in Removal Proceedings, Order of
Removal dated:4/13/2005, have been received from the United States District
Court, Northern District of Illinois. Please refer to document #465 in the
case record.

Sincerely,

ROBERT R. Di TROLIO,
Clerk of Court

Q€He

Hp\/xty Clerk

242 Federal Building 101 Federal Building
167 North Main Street 109 South Highland Avenue
Memphis, Tennessee 38103 Jackson, Tennessee 38301

  
 

Thls document entered on the docket sheet in
with Rule 55 and.for 32(b) FRCrP on

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Honorable Samuel Mays
US DISTRICT COURT

